          Case 2:17-cv-03899-GEKP Document 4 Filed 10/06/17 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL SCAVO, individually and                )
on behalf of all others similarly situated,    )
                                               )
        Plaintiff,                             )
                                               )       Case No. 2:17-cv-03899-GEKP
vs.                                            )
                                               )
ACCOUNT DISCOVERY SYSTEMS,                     )
LLC, and DOES 1 through 10, inclusive,         )
and each of them,                              )
                                               )
        Defendant                              )

                 DEFENDANT ACCOUNT DISCOVERY SYSTEMS, LLC’S
                            MOTION TO STRIKE PURSUANT TO
        FED. R. CIV. P. 12(f), FED. R. CIV. P. 23(c)(1)(A) and FED. R. CIV. P. 23(d)(1)(D)

        Defendant Account Discovery Systems, LLC (“ADS”) by and through its attorneys Lippes

Mathias Wexler Friedman LLP, hereby moves this Honorable Court for an Order granting ADS’s

Motion, pursuant to Fed. R. Civ. P. 12(f), Fed. R. Civ. P. 23(c)(1)(A) and Fed. R. Civ. P.

23(d)(1)(D), striking Plaintiff’s class allegations.

        As set forth in detail in the Brief supporting its Motion, the Complaint’s proposed class

definition based on alleged violations of the Telephone Consumer Protection Act, 47. U.S.C. §

227 et seq. (“TCPA”) is limited to those individuals that revoked prior express consent to be

contacted on their cellular phones via an automatic dialing system. Accordingly, the proposed class

definition determines membership based on a finding of liability, and thus, must be struck as fail-

safe.

        Accordingly, ADS seeks an Order granting its Motion to Strike Plaintiff’s class allegations

pursuant to Rules 12(f), 23(c)(1)(A) and 23(d)(1)(D).




                                                   1
         Case 2:17-cv-03899-GEKP Document 4 Filed 10/06/17 Page 2 of 2




Dated: October 6, 2017

                                     LIPPES MATHIAS WEXLER FRIEDMAN LLP

                                     /s Brendan H. Little
                                     Brendan H. Little, Esq.
                                     Attorneys for Defendant
                                     50 Fountain Plaza, Suite 1700
                                     Buffalo, NY 14202
                                     P: 716-853-5100
                                     F: 716-853-5199
                                     blittle@lippes.com



                                CERTIFICATE OF SERVICE


     I hereby certify that on October 6, 2017, I electronically filed the foregoing Motion via the
CM/ECF system, which should then send notification of such filing to all counsel of record.


                                     /s Brendan H. Little
                                     Brendan H. Little, Esq.




                                                2
